
Judgment affirmed, without costs of this appeal to either party. All concur. (Appeal from a judgment of the Court of Claims dismissing á ‘ claim ¡^or damages] for. alleged; false' :impfiáóhinent,‘ ’.assault,1 ánH' níalióious "prosecution,'' alleged vtp" K.áv'e Peen' committed against tilaíffiáht' by ‘a! 'memb’ef of the‘State Police' while1 claimant was,serving • on'duty VitH the’Natitttiaíl ‘Guard.’) .Present &amp;emdash; McCurn, P. J., Vaughan, Wheeler and Van Duser, JJ. [106 Misc. 575.]
